 Case 2:20-cv-04288-KS Document 37 Filed 05/03/21 Page 1 of 1 Page ID #:872

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No.        CV 20-4288-KS                                                Date: May 3, 2021
Title       Narine Ghadanian v. Andrew M. Saul




Present: The Honorable:         Karen L. Stevenson, United States Magistrate Judge


                   Gay Roberson                                              N/A
                   Deputy Clerk                                    Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE: GRANTING
             PLAINTIFF’S MOTION FOR RELIEF FROM JUDGMENT

        On March 31, 2021, the Court dismissed the Complaint in this social security action
without prejudice due to Plaintiff’s failure to prosecute and comply with court orders. (Dkt. No.
29.) Attorney Betty Herrera then filed a Notice of Appearance (Dkt. No. 33) and a Motion for
Relief from Judgment of Dismissal (Dkt. No. 34) (the “Motion”). On April 6, 2021, the Court set
a briefing schedule on the Motion, directing the Commissioner to file an Opposition—or Statement
of Non-opposition—to the Motion no later than April 20, 2021. (Dkt. No. 36.) Nearly two weeks
have now passed since the Commissioner’s deadline for filing a response to the Motion and no
response has been filed. Pursuant to the Local Rules, the Commissioner’s failure to file the
required response to the Motion within the Court’s deadline “may be deemed consent to the
granting . . . of the Motion.” L.R. 7-12.

        Accordingly, IT IS ORDERED that, no later than May 10, 2021, Defendant shall
SHOW CAUSE why the Motion should not be granted pursuant to Local Rule 7-12 and the
case re-opened for further proceedings. Defendant’s failure to timely comply with this Order will
result in an Order granting the Motion.

        IT IS SO ORDERED.
                                                                                                     :
                                                                     Initials of Preparer   gr




CV-90 (03/15)                            Civil Minutes – General                                 Page 1 of 1
